Case 18-12705-amc              Doc 25
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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Charles Stewart Cohen                                                          CHAPTER 7
       Ofelia Cohen
                                   Debtor(s)

Wilmington Savings Fund Society, FSB, d/b/a
Christiana Trust, not individually but as Trustee for                             NO. 18-12705 AMC
Pretium Mortgage Acquisition Trust
                                  Movant
                vs.

Charles Stewart Cohen
Ofelia Cohen                                                                      11 U.S.C. Section 362
                                   Debtor(s)

Gary F. Seitz Esq.

    MOTION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA
     TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE
        ACQUISITION TRUST FOR RELIEF FROM THE AUTOMATIC STAY
                           UNDER SECTION 362

          1.      Movant is Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not individually

 but as Trustee for Pretium Mortgage Acquisition Trust.

          2.      Debtor(s) are the owner(s) of the premises 333 Rosemary Lane, Narberth, PA 19072

 hereinafter referred to as the mortgaged premises.

          3.      Movant is the holder of a mortgage, original principal amount of $850,000.00 on the

 mortgaged premises that was executed on December 14, 2009 . Said mortgage was recorded on December

 22, 2009 in Instrument Number 2009132326. The Mortgage was subsequently assigned to Movant by

 way of Assignment of Mortgage recorded on December 29, 2017, at Book 14463, Page 00905-00907 in

 Montgomery County.

          4.         Gary F. Seitz Esq., is the Trustee appointed by the Court.

          5.      The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 7 Petition in

 Bankruptcy by Debtor(s).
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        6.      Debtor(s) have failed to make the monthly mortgage payments in the amount of $6,188.29

for the months of June 2016 through January 2017; $6,719.54 February 2017 through January 2018; and

$6,896.62 for the February 2018 through May 2018 with accumulated late charges in the amount of

$2,572.09 on the mortgage subsequent to the filing of the Bankruptcy Petition.

        7.      The total amount necessary to reinstate the loan is $154,111.08.

        8.      In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $750.00

in legal fees and $181.00 in legal costs. Movant reserves all rights to seek an award or allowance of such

fees and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy

Code and otherwise applicable law.

        9.      Movant is entitled to relief from stay for cause. Furthermore, Movant is not adequately

protected.

        10.     This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.

                                                       /s/ Rebecca A. Solarz, Esquire
                                                       Rebecca A. Solarz, Esquire
                                                       Kevin G. McDonald, Esquire
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                                                       Attorneys for Movant/Applicant
Dated: June 4, 2018
